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                                             U N I T E D S TAT E S D I S T R I C T C O U R T
                                                     DISTRICT    OF    COLORADO


JACKIE NOLLETT,

                                       Plaintiff,

                                                                        Civil Action No.       21-CV-1005
B N S F R A I LWAY C O M PA N Y,
a Delaware corporation.

                                       Defendant,



                                                  COMPLAINT     AND    JURY     DEMAND




            Plaintiff Jackie Nollett, for her claims and causes of action against Defendant BNSF

Railway company, a Delaware corporation, states as follows:
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                                       Preliminary Statement


       1. This is an action to recover damages for personal injuries Plaintiff suffered during

the course and scope of her employment on April 28, 2019 while working as a conductor for

Defendant. Plaintiffs claims against Defendant are brought under the Federal Employers'

Liability Act (FELA), 45 U.S.C. §§ 51-60.

                                                  Parties


       2. That at all time relevant herein. Plaintiff was a resident and citizen of Broken Bow,


Nebraska, and was employed by Defendant as a conductor engaged in interstate commerce.

       3. That at all times relevant herein. Defendant was a corporation duly organized and

existing under the laws of the State of Delaware with its principal place of business in Fort Worth,

Texas; was duly licensed to operate a system of railroads, as a common carrier of freight for hire

in and through the state of Colorado; and was engaged as a common carrier in interstate commerce.

                                     J u r i s d i c t i o n a n d Ve n u e


       4. This Court has subject-matter jurisdiction over Plaintiff s FELA claims pursuant to

28 U.S.C. § 1331 (federal question).

       5. This Court has personal jurisdiction over Defendant since the incident giving rise

to Plaintiffs FELA claims occurred within the State of Colorado.


       6. Venue to bring Plaintiffs FELA claims in this Court is proper pursuant to 45 U.S.C.

§ 56, which allows bringing FELA claim in the district where the cause of action arose or in the

district where the defendant is doing business at the time the action is commenced.

       7. Plaintiffs FELA claims are timely commenced pursuant to 45 U.S.C. § 56.

                                                    Facts


       8. That on April 28, 2019. at about 8:15 a.m.. Plaintiff was in the course and scope of



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her employment working as a conductor for Defendant. Plaintiff was part of a two-person train

crew who were operating a train on Defendant's tracks at or near Fort Morgan, Colorado. As the

train was traveling east on the tracks, it collided with a car that failed to stop at stop sign at a public

crossing. After the train came to a stop and as the conductor. Plaintiff was required to get off the

engine she was occupying to inspect the train and to check on the condition of the driver of the

car. In order to perform her assigned job. Plaintiff was required to walk along the track bed made

up of ballast with parts covered by weeds. As Plaintiff performed her job, her foot slid on rocks

or ballast that was obscured by weeds, causing her to fracture several bones in her opposite foot.

                       Count One tneslisence liability pursuant to FELA


        Plaintiff realleges paragraphs 1 through 8 as set forth at length and in detail herein.

        9. That the injuries and damages sustained by Plaintiff were caused, in whole or in

party, by reason of Defendant's violation of the FELA, and as a consequence of Defendant's

negligence in:

        a. Failing to provide Plaintiff with a reasonably safe place to work;

        b. Failing to warn Plaintiff of the hazard;

        c. Failing and neglecting to properly inspect, and maintain areas where Plaintiff was
                required to perform trackside duties;

        d. Failing and neglecting to implement and enforce safe work methods;

        e. Failing to have an adequate vegetation control plan and/or enforcing it; and

        f. Other acts of negligence as shown in discovery of this case.

        10. That as a result of the incident. Plaintiff was injured, suffered pain in the past and

will suffer pain in the future; has incurred expenses for medical treatment, and will incur further

like expenses in the future; has suffered loss of earnings and loss of future eaming capacity; has

suffered loss of her enjoyment of life; and has suffered permanent injury and disability, all to her



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injury and damage.

              Count Two (negligence per se/strict liability pursuant to violations
                        of Federal Railroad Administration Regulations)

        Plaintiff realleges paragraphs 1 through 10 as set forth at length and in detail herein.

        11. The acts and omissions of Defendant described above also constitute one or more


violations of the Federal Railroad Administration Regulations, including but not limited to 49

C.F.R. § 213.37(c), which constitutes negligence per se/strict liability.

        12. That the injuries and damages sustained by Plaintiff were caused, in whole or in

part, by Defendant's violations of the Federal Railroad Administration Regulations.

        13. That as a result of the incident. Plaintiff was injured, suffered pain in the past and

will suffer pain in the future; has incurred expenses for medical treatment, and will incur further

like expenses in the future; has suffered loss of earnings and loss of future eaming capacity; has

suffered loss of her enjoyment of life; and has suffered permanent injury and disability, all to her

injury and damage.

        WHEREFORE, Plaintiff Jackie Nollett prays judgment against the above-named

Defendant BNSF Railway Company in an amount to be determined as reasonable compensation

for all the injuries and damages she has suffered, together with interest thereon as provided by law,

and for her costs and disbursements herein incurred, and for such other and further relief as the

Court may deem just and appropriate.

        PLAINTIFF      DEMANDS       A   TRIAL   BY   JURY




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Date: April 9,2021




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